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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

                                           :
SUSAN BYRNE,                               :
    Plaintiff                              :
                                           :      CIVIL CASE NO.: 3:17-cv-01104-VLB
v.                                         :
                                           :
YALE UNIVERSITY,                           :
     Defendant                             :      DECEMBER 30, 2019
                                           :

                        DEFENDANT’S MOTION IN LIMINE TO EXCLUDE
                    EVIDENCE ABOUT MATTERS UNRELATED TO PLAINTIFF
                               OR PROTECTED BY FERPA

           Defendant Yale University (“Yale”) hereby moves in limine to exclude a

variety of proposed evidence that has no connection to Plaintiff or her claims in

this case, or that contains information protected from disclosure by the Family

Educational Rights and Privacy Act (“FERPA”).

     I.       Relevant Background

           Plaintiff, a former Associate Professor at Yale, asserts claims of retaliation,

negligent misrepresentation, and breach of contract in connection with her

department’s negative vote on her tenure case in February 2016.

     II.      Remote Events or Allegations about Roberto Gonzalez Echevarria

           Plaintiff appears to intend to offer evidence of a variety of alleged

misconduct in years prior to her employment at Yale and/or having nothing to do

with Plaintiff herself. For example, Plaintiff’s Exhibit 44 is an irrelevant document

that pertains relates to the Title IX proceedings (which are the subject of a separate

Motion in Limine), but it also refers to a situation in 2009 that has no possible

bearing on this case. Admission of Plaintiff’s Exhibit 44 would serve no proper
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purpose and could only confuse the jury, invite them to engage in improper

considerations about potential sexual harassment or sexual misconduct, and

erroneously suggest that they may consider character evidence. This evidence

should be excluded pursuant to Fed. R. Evid. 402, 403, 404.

   III.     Information Concerning Rolena Adorno

          Professor Rolena Adorno was the Chair of the Department of Spanish and

Portuguese, and Plaintiff apparently plans to adduce extensive documentary

evidence reflecting Professor Adorno’s writings about various irrelevant topics.

For example, Plaintiff’s Exhibit 64 is a long memorandum that Professor Adorno

wrote about her relationship with Kevin Poole, who had been another non-tenured

faculty member in the department. Although the memo makes passing references

to Plaintiff, it should be excluded from evidence either because it is irrelevant or

because any potential relevance is so far outweighed by the undue prejudice

against Yale that it would engender. Fed. R. Evid. 402, 403. Similarly, Plaintiff’s

Exhibits 56-59, 64-66, and 68-69 should be excluded.

   IV.      Correspondence about an Internet Address

          Plaintiff has included on her proposed exhibit list numerous emails

concerning several witnesses’ efforts to determine an Internet address in order to

determine who had altered Professor Gonzalez Echevarria’s Wikipedia page. See,

e.g., Pl’s Exs. 73, 158-60, 364, 375-77. Plaintiff had assumed, without basis, that

the witnesses were trying to find her whereabouts so they could determine where

she was interviewing. But there is no evidence of such motive for the inquiry, nor

would such inquiry, which came after the negative department vote on Plaintiff’s




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tenure case on February 9, 2016, be relevant to any issue in this case. Any potential

relevancy would be substantially outweighed by the risk of undue prejudice, given

the potential for confusion or misleading of the jury. Accordingly, this evidence

should be excluded. Fed. R. Evid. 402, 403.

   V.       FERPA

         FERPA is a federal law that prohibits Yale from disclosing identifiable

student records, and, accordingly, Yale has redacted student names from

documents produced in discovery. To the extent, however, that any student names

have inadvertently remained visible in documents produced and now designated

as trial exhibits, Yale seeks an order from the Court that any such indicia of

students’ identities will be permitted to be redacted before such document is

introduced into evidence. Yale has been working to ensure that any visible student

names are redacted and will continue to do so prior to trial.

   VI.      Conclusion

         For all these reasons, Defendant Yale University respectfully seeks an order

precluding admission of the above-described evidence at trial.

                                        DEFENDANT,
                                        YALE UNIVERSITY

                                  By:   /s/ Victoria Woodin Chavey
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                               CERTIFICATION OF SERVICE

                  I hereby certify that on December 30, 2019, a copy of the foregoing

was filed electronically. Notice of this filing will be sent to all parties by operation

of the Court’s electronic filing system. Parties may access this filing through the

Court’s system.



                                                /s/ David C. Salazar-Austin
                                                David C. Salazar-Austin




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